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September 7, 2023

Hon. Colleen McMahon
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

      In re New York City Policing During Summer 2020 Demonstrations,
                              1:20-cv-08924-CM

Dear Judge McMahon:

       Together with the firm of Schlam Stone & Dolan LLP, I represent the
intervenor-defendant Police Benevolent Association of the City of New York,
Inc. (“the PBA”). I write to request an opportunity for the PBA to oppose the
motion to approve a settlement of this case.

       Your Honor signed an order granting the motion today, perhaps in the
belief that the settlement was adopted by all parties and the motion was
unopposed, but that is not correct. Although the motion papers submitted by the
other parties to the case do not mention it, the PBA has made clear for several
months that it does not agree to the proposed settlement, which, in the PBA’s
view, is contrary to the public interest and will create unacceptable safety risks
to the PBA’s members and to members of the public.

       The motion to approve the proposed settlement was filed two days ago,
on September 5, 2023. Yesterday, September 6, I emailed all counsel to confirm
that the PBA opposes the motion and to suggest that we agree on a briefing
schedule, subject to the Court’s approval. I requested thirty days to prepare the
PBA’s opposition. Attorneys for the plaintiffs and the City replied that they
were considering the suggestion and would get back to me. (Copies of the
emails I refer to are attached to this letter; I have deleted earlier, unrelated
emails from the thread.)


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      I submit that the PBA, as a party to the case, is entitled to be heard in
opposition to the motion. I therefore respectfully request that Your Honor
vacate your order of earlier today, and direct that the parties seek to agree,
subject to court approval, on a briefing schedule for the motion.

                                               Respectfully yours,



                                               Robert S. Smith




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dŚĞ W ǁŝůů ŽƉƉŽƐĞ ƚŚĞ ŵŽƚŝŽŶ ĨŝůĞĚ ǇĞƐƚĞƌĚĂǇ ĨŽƌ ĂƉƉƌŽǀĂů ŽĨ ƚŚĞ ƐĞƚƚůĞŵĞŶƚ͘ tĞ ƐƵŐŐĞƐƚ ƚŚĂƚ ǁĞ ĂŐƌĞĞ ƚŽ Ă ďƌŝĞĨŝŶŐ
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tĞ ƚŚŝŶŬ ƚŚŝƌƚǇ ĚĂǇƐ ;ŝ͘Ğ͕͘ ƵŶƚŝů KĐƚŽďĞƌ ϱͿ ǁŽƵůĚ ďĞ Ă ƌĞĂƐŽŶĂďůĞ ƚŝŵĞ ĨŽƌ ƵƐ ƚŽ ƉƌĞƉĂƌĞ ƉĂƉĞƌƐ ŝŶ ŽƉƉŽƐŝƚŝŽŶ ƚŽ ƚŚĞ
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